                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                                  Plaintiff,

        V.                                                      Case No. 17-CR-113

TOMMIE COLE,

                                  Defendant.



                                         PLEA AGREEMENT



       1.          The United States of America, by its attorneys, Matthew D. Krueger, United

States Attorney for the Eastern District of Wisconsin, and Mario F. Gonzales, Assistant United

States Attorney, and the defendant, Tommie Cole, individually and by attorney Jacob A.

Manian, pursuant to Rule 11 of the Federal Rules of Criminal Procedure, enter into the following

plea agreement:

                                               CHARGES

      2.         The defendant has been charged in one count of a two-count indictment, which

alleges violations of Title 21, United States Code, Sections 841(a)(1), (b)(1)(A) and 846.

       3.          The defendant has read and fully understands the charge contained in the

indictment. He fully understands the nature and elements of the crime with which he has been

charged, and the charge and the terms and conditions of the plea agreement have been fully

explained to him by his attorney.

       4.          The defendant voluntarily agrees to plead guilty to the following count set forth in

full as follows:

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                                 COUNT TWO
THE GRAND JURY CHARGES:
     1.   Between approximately January 1, 2016, and June 20, 2017, in the State

         and Eastern District of Wisconsin, and elsewhere,


                                        FERNANDO REYES,
                                           JUAN AVINA,
                                          BRYAN BANKS,
                                        DANTE WILLIAMS,
                                        TOMMIE COLE, and
                                      ALEJANDRO CASTENEDA

        knowingly and intentionally conspired with each other, and with persons known and

        unknown to the grand jury, to distribute controlled substances, and aided and abetted the

        conspiracy.

        2.       The offense involved 1 kilogram or more of a mixture and substance containing

        heroin, a Schedule I controlled substance, and 5 kilograms or more of a mixture and

        substance containing cocaine, a Schedule II controlled substance.

                 All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1)(A),

        and 846, and Title 18, United States Code, Section 2.


       5.        The defendant acknowledges, understands, and agrees that he is, in fact, guilty of

the offense described in paragraph 4. The parties acknowledge and understand that if this case

were to proceed to trial, the government would be able to prove the facts in Attachment A

beyond a reasonable doubt. The defendant admits that these facts are true and correct and

establish his guilt beyond a reasonable doubt: This information is provided for the purpose of setting

forth a factual basis for the plea of guilty. It is not a full recitation of the defendant's knowledge of, or

participation in, this offense.




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                                           PENALTIES

       6.       The parties understand and agree that the offense to which the defendant will

enter a plea of guilty carries the following maximum term of imprisonment and fine: count two,

life and $10,000,000. The count also carries a mandatory minimum of 10 years of

imprisonment. Count two also carries a mandatory special assessment of $100; at least five years

of supervised release; and a maximum term of life on supervised release. The parties further

recognize that a restitution order may be entered by the court.


       7.       The defendant acknowledges, understands, and agrees that he has discussed the

relevant statutes as well as the applicable sentencing guidelines with his attorney, including any

possibility that the defendant may qualify as an Armed Career Criminal under 18 U.S.C. § 924(e)

or a career offender under the sentencing guidelines.


        PROOF OF DRUG WEIGHT FOR STATUTORY MAXIMUM PENALTY

       8.       The parties understand and agree that for the penalties in 21 U.S.C. §

841(b)(1)(A) to apply, as provided in paragraph 6 above, the government must prove beyond a

reasonable doubt that the offense to which the defendant is pleading guilty involved at least five

kilograms or more of cocaine. The defendant agrees that the government possesses sufficient,

admissible evidence to meet this burden.

                                           ELEMENTS

       9.       The parties understand and agree that in order to sustain the charge of conspiracy

to possess with intent to distribute a controlled substance as set forth in count teo, the

government must prove each of the following propositions beyond a reasonable doubt:

       First, that the alleged conspiracy existed; and



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       Second, that the defendant knowingly and willingly became a member of the conspiracy
       with the intent to further the conspiracy.

                                  SENTENCING PROVISIONS

      10.      The parties agree to waive the time limits in Fed. R. Crim. P. 32 relating to the

presentence report, including that the presentence report be disclosed not less than 35 days

before the sentencing hearing, in favor of a schedule for disclosure, and the filing of any

objections, to be established by the court at the change of plea hearing.

      11.      The parties acknowledge, understand, and agree that any sentence imposed by the

court will be pursuant to the Sentencing Reform Act, and that the court will give due regard to

the Sentencing Guidelines when sentencing the defendant.

      12.      The defendant acknowledges and agrees that his attorney has discussed the

potentially applicable sentencing guidelines provisions with him to the defendant's satisfaction.

      13.      The parties acknowledge and understand that prior to sentencing the United States

Probation Office will conduct its own investigation of the defendant's criminal history. The

parties further acknowledge and understand that, at the time the defendant enters a guilty plea,

the parties may not have full and complete information regarding the defendant's criminal

history. The parties acknowledge, understand, and agree that the defendant may not move to

withdraw the guilty plea solely as a result of the sentencing court's determination of the

defendant's criminal history.

                                Sentencing Guidelines Calculations

      14.      The defendant acknowledges and understands that the sentencing guidelines

recommendations contained in this agreement do not create any right to be sentenced within any

particular sentence range, and that the court may impose a reasonable sentence above or below

the guideline range. The parties further understand and agree that if the defendant has provided

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false, incomplete, or inaccurate infollnation that affects the calculations, the government is not

bound to make the recommendations contained in this agreement.

                                          Relevant Conduct

      15.       The parties acknowledge, understand, and agree that pursuant to Sentencing

Guidelines Manual § 1B1.3, the sentencing judge may consider relevant conduct in calculating

the sentencing guidelines range, even if the relevant conduct is not the subject of the offense to

which the defendant is pleading guilty.

      16.       The parties agree to recommend acknowledge and will recommend to the

sentencing court that the relevant conduct attributable to the defendant is at least five kilograms

but less than fifteen kilograms of a mixture and substance containing cocaine, a Schedule II

controlled substance.

                                         Base Offense Level

      17.       The parties agree to recommend to the sentencing court that the applicable base

offense level for the offense charged in count one is 30 under Sentencing Guidelines Manual §

2D1.1(c)(5).

                                   Acceptance of Responsibility

      18.       The government agrees to recommend a two-level decrease for acceptance of

responsibility as authorized by Sentencing Guidelines Manual § 3E1.1(a), but only if the

defendant exhibits conduct consistent with the acceptance of responsibility. In addition, if the

court determines at the time of sentencing that the defendant is entitled to the two-level reduction

under § 3E1.1(a), the government agrees to make a motion recommending an additional one-

level decrease as authorized by Sentencing Guidelines Manual § 3E1.1(b) because the defendant

timely notified authorities of his intention to enter a plea of guilty.



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                         Career Offender or Armed Career Criminal

      19.      The parties acknowledge, understand, and agree that the defendant may qualify as

a career offender under the sentencing guidelines. The parties further understand, acknowledge,

and agree that the defendant may not move to withdraw the guilty plea solely as a result of a

determination that under the guidelines, the defendant is determined to be a career offender.

                                 Sentencing Recommendations

      20.      Both parties reserve the right to provide the district court and the probation office

with any and all infoimation which might be pertinent to the sentencing process, including but

not limited to any and all conduct related to the offense as well as any and all matters which

might constitute aggravating or mitigating sentencing factors.

      21.      Both parties reserve the right to make any recommendation regarding any and all

factors pertinent to the deteinrination of the sentencing guideline range; the fine to be imposed;

the amount of restitution and the terms and condition of its payment; the length of supervised

release and the tetrns and conditions of the release; the defendant's custodial status pending the

sentencing; and any other matters not specifically addressed by this agreement.

      22.      The government agrees to recommend a sentence within the applicable sentencing

guideline range, as determined by the court.

                             Court's Determinations at Sentencing

      23.      The parties acknowledge, understand, and agree that neither the sentencing court

nor the United States Probation Office is a party to or bound by this agreement. The United

States Probation Office will make its own recommendations to the sentencing court. The

sentencing court will make its own determinations regarding any and all issues relating to the

imposition of sentence and may impose any sentence authorized by law up to the maximum

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penalties set forth in paragraph 6 above. The parties further understand that the sentencing court

will be guided by the sentencing guidelines but will not be bound by the sentencing guidelines

and may impose a reasonable sentence above or below the calculated guideline range.

      24.      The parties acknowledge, understand, and agree that the defendant may not move

to withdraw the guilty plea solely as a result of the sentence imposed by the court.

                                    FINANCIAL MATTERS

      25.      The defendant acknowledges and understands that any and all financial

obligations imposed by the sentencing court are due and payable in full upon entry of the

judgment of conviction. The defendant further understands that any payment schedule imposed

by the sentencing court shall be the minimum the defendant is expected to pay and that the

government's collection of any and all court imposed fmaneial obligations is not limited to the

payment schedule. The defendant agrees not to request any delay or stay in payment of any and

all financial obligations. If the defendant is incarcerated, the defendant agrees to participate in

the Bureau of Prisons' Inmate Financial Responsibility Program, regardless of whether the court

specifically directs participation or imposes a schedule of payments.

                                                Fine

      26.      The parties agree to recommend acknowledge and understand that the government

will recommend to the sentencing court that a nominal fine be imposed against the defendant.

                                        Special Assessment

      27.      The defendant agrees to pay the special assessment in the amount of $100 prior to

or at the time of sentencing.

                                             Forfeiture

      28.      The defendant agrees that all properties listed in the indictment, and/or bill of

particulars constitute the proceeds of the offense to which he is pleading guilty, or were used to
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facilitate such offense. The defendant agrees to the forfeiture of these properties and to the

immediate entry of a preliminary order of forfeiture. The defendant agrees that he has an interest

in each of the listed properties. The parties acknowledge and understand that the government

reserves the right to proceed against assets not identified in this agreement. The parties agree that

the forfeiture of the defendant's properties as described in the indictment, and/or bill of

particulars will be determined by the court prior to or at the time of sentencing.

                                DEFENDANT'S COOPERATION

      29.        The defendant, by entering into this agreement, further agrees to fully and

completely cooperate with the government in its investigation of this and related matters, and to

testify truthfully and completely before the grand jury and at any subsequent trials or

proceedings, if asked to do so. The government agrees to advise the sentencing judge of the

nature and extent of the defendant's cooperation. The parties acknowledge, understand and agree

that if the defendant provides substantial assistance to the government in the investigation or

prosecution of others, the government, in its discretion, may recommend a downward departure

from: (a) the applicable sentencing guideline range; (b) any applicable statutory mandatory

minimum; or (c) both. The defendant acknowledges and understands that the court will make its

own determination regarding the appropriateness and extent to which such cooperation should

affect the sentence.

                             DEFENDANT'S WAIVER OF RIGHTS

      30.        In entering this agreement, the defendant acknowledges and understands that he

surrenders any claims he may have raised in any pretrial motion, as well as certain rights which

include the following:

            a.      If the defendant persisted in a plea of not guilty to the charges against him, he
                    would be entitled to a speedy and public trial by a court or jury. The defendant
                    has a right to a jury trial. However, in order that the trial be conducted by the
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                     judge sitting without a jury, the defendant, the government and the judge all
                     must agree that the trial be conducted by the judge without a jury.

             b.      If the trial is a jury trial, the jury would be composed of twelve citizens
                     selected at random. The defendant and his attorney would have a say in who
                     the jurors would be by removing prospective jurors for cause where actual
                     bias or other disqualification is shown, or without cause by exercising
                     peremptory challenges. The jury would have to agree unanimously before it
                     could return a verdict of guilty. The court would instruct the jury that the
                     defendant is presumed innocent until such time, if ever, as the government
                     establishes guilt by competent evidence to the satisfaction of the jury beyond a
                     reasonable doubt.

             c.      If the trial is held by the judge without a jury, the judge would find the facts
                     and determine, after hearing all of the evidence, whether or not he was
                     persuaded of defendant's guilt beyond a reasonable doubt.

             d.      At such trial, whether by a judge or a jury, the government would be required
                     to present witnesses and other evidence against the defendant. The defendant
                     would be able to confront witnesses upon whose testimony the government is
                     relying to obtain a conviction and he would have the right to cross-examine
                     those witnesses. In turn the defendant could, but is not obligated to, present
                     witnesses and other evidence on his own behalf. The defendant would be
                     entitled to compulsory process to call witnesses.

             e.      At such trial, defendant would have a privilege against self-incrimination so
                     that he could decline to testify and no inference of guilt could be drawn from
                     his refusal to testify. If defendant desired to do so, he could testify on his own
                     behalf.

      31.         The defendant acknowledges and understands that by pleading guilty he is

waiving all the rights set forth above. The defendant further acknowledges the fact that his

attorney has explained these rights to him and the consequences of his waiver of these rights.

The defendant further acknowledges that as a part of the guilty plea hearing, the court may

question the defendant under oath, on the record, and in the presence of counsel about the

offense to which the defendant intends to plead guilty. The defendant further understands that the

defendant's answers may later be used against the defendant in a prosecution for perjury or false

statement.



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      32.       The defendant acknowledges and understands that he will be adjudicated guilty of

the offense to which he will plead guilty and thereby may be deprived of certain rights, including

but not limited to the right to vote, to hold public office, to serve on a jury, to possess fireat ns,

and to be employed by a federally insured financial institution.

      33.       The defendant knowingly and voluntarily waives all claims he may have based

upon the statute of limitations, the Speedy Trial Act, and the speedy trial provisions of the Sixth

Amendment. The defendant agrees that any delay between the filing of this agreement and the

entry of the defendant's guilty plea pursuant to this agreement constitutes excludable time under

the Speedy Trial Act.

                              Further Civil or Administrative Action

      34.       The defendant acknowledges, understands, and agrees that the defendant has

discussed with his attorney and understands that nothing contained in this agreement, including

any attachment, is meant to limit the rights and authority of the United States of America or any

other state or local government to take further civil, administrative, or regulatory action against

the defendant, including but not limited to any listing and debarment proceedings to restrict

rights and opportunities of the defendant to contract with or receive assistance, loans, and

benefits from United States government agencies.

                                 MISCELLANEOUS MATTERS

      35.        The defendant recognizes that pleading guilty may have consequences with

respect to the defendant's immigration status if the defendant is not a citizen of the United States.

Under federal law, a broad range of crimes are removable offenses, including the offense to

which defendant is pleading guilty. Because defendant is pleading guilty to conspiracy to possess

and distribute controlled substances, removal is presumptively mandatory. Removal and other

immigration consequences are the subject of a separate proceeding, and the defendant
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understands that no one, including the defendant's attorney or the sentencing court, can predict to

a certainty the effect of the defendant's conviction on the defendant's immigration status. The

defendant nevertheless affilins that the defendant wants to plead guilty regardless of any

immigration consequences, including the potential for automatic removal from the United States.

                                      GENERAL MATTERS

      36.      The parties acknowledge, understand, and agree that this agreement does not

require the government to take, or not to take, any particular position in any post-conviction

motion or appeal.

      37.      The parties acknowledge, understand, and agree that this plea agreement will be

filed and become part of the public record in this case.

      38.      The parties acknowledge, understand, and agree that the United States Attorney's

office is free to notify any local, state, or federal agency of the defendant's conviction.

      39.      The defendant understands that pursuant to the Victim and Witness Protection

Act, the Justice for All Act, and regulations promulgated thereto by the Attorney General of the

United States, the victim of a crime may make a statement describing the impact of the offense

on the victim and further may make a recommendation regarding the sentence to be imposed.

The defendant acknowledges and understands that comments and recommendations by a victim

may be different from those of the parties to this agreement.

                          Further Action by Internal Revenue Service

      40.      Nothing in this agreement shall be construed so as to limit the Internal Revenue

Service in discharging its responsibilities in connection with the collection of any additional tax,

interest, and penalties due from the defendant as a result of the defendant's conduct giving rise to

the charges alleged in the indictment.

             EFFECT OF DEFENDANT'S BREACH OF PLEA AGREEMENT
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       41.       The defendant acknowledges and understands if he violates any term of this

agreement at any time, engages in any further criminal activity prior to sentencing, or fails to

appear for sentencing, this agreement shall become null and void at the discretion of the

government. The defendant further acknowledges and understands that the government's

agreement to dismiss any charge is conditional upon final resolution of this matter. If this plea

agreement is revoked or if the defendant's conviction ultimately is overturned, then the

government retains the right to reinstate any and all dismissed charges and to file any and all

charges which were not filed because of this agreement. The defendant hereby knowingly and

voluntarily waives any defense based on the applicable statute of limitations for any charges filed

against the defendant as a result of his breach of this agreement. The defendant understands,

however, that the government may elect to proceed with the guilty plea and sentencing. If the

defendant and his attorney have signed a proffer letter in connection with this case, then the

defendant further acknowledges and understands that he continues to be subject to the terms of

the proffer letter.

                        VOLUNTARINESS OF DEFENDANT'S PLEA

      42.       The defendant acknowledges, understands, and agrees that he will plead guilty

freely and voluntarily because he is in fact guilty. The defendant further acknowledges and

agrees that no threats, promises, representations, or other inducements have been made, nor

agreements reached, other than those set forth in this agreement, to induce the defendant to plead

guilty.




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                                    ACKNOWLEDGMENTS

I am the defendant. I am entering into this plea agreement freely and voluntarily. I am not now
on or under the influence of any drug, medication, alcohol, or other intoxicant or depressant,
whether or not prescribed by a physician, which would impair my ability to understand the terms
and conditions of this agreement. My attorney has reviewed every part of this agreement with me
and has advised me of the implications of the sentencing guidelines. I have discussed all aspects
of this case with my attorney and I am satisfied that my attorney has provided effective
assistance of counsel.




Date:   iJ12_f_   i.                                   6.1TV27/7
                                             TOMMIE COLE
                                             Defendant


I am the defendant's attorney. I carefully have reviewed every part of this agreement with the
defendant. To my knowledge, my client's decision to enter into this agreement is an informed
and voluntary one.


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Date: April 12,2019
                                             JACOB A. MANIAN
                                             Attorney for Defendant


For the United States of America:



Date:
                                             MATTHEW D. KRUE0
                                             United States Attome



Date:
                                             MAR 0 r, GONZALES            ./X
                                             Assistant United States Attorney


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                                        Attachment A


       1.      Tommie Cole has been identified as a cocaine customer of Fernando REYES. Case

agents have conducted surveillance of several drug transactions between Fernando REYES and

Tommie Cole that occuiTed at various locations in Milwaukee, WI.

       2.      On March 15, 2017, at 4:58 p.m., Tommie COLE, called Fernando REYES at

(Target Telephone #9). COLE stated, "I need one." REYES asked, "You need one?" COLE

stated, "Yeah." REYES stated, "Alright. Sounds good. So I'll meet you...I'm in Waukesha right

now. I'm on my way there. I'll be there like in about an hour. Is that fine? You think an hour is

fine?" COLE replied, "Yeah." REYES stated, "Sounds good. I'll call you when I'm there." Case

agents believe COLE told REYES he wanted to purchase one kilogram of cocaine. REYES agreed

and said he would call COLE when he arrived at COLE' s residence. On March 15, 2017, at 6:15

p.m., REYES, using (Target Telephone #9), sent a text message to Tommie COLE that read, "6

m." Case agents believe REYES sent a message to COLE stating he would arrive in six minutes.

At 6:26 p.m., REYES, using (Target Telephone #9), sent a text message to COLE that read, "I'm

outside." At 6:29 p.m. COLE, called REYES at (Target Telephone #9) and asked, "You outside?"

REYES replied, "Yeah." COLE asked, "Okay. You in the back?" REYES said, "Yes." COLE

replied, "Alright." Case agents have previously conducted surveillance of transactions between

COLE and REYES and know that REYES prefers to park on the parking slab behind COLE's

residence to conduct transactions. Case agents believe REYES told COLE he was waiting outside

behind his residence. COLE then went outside where REYES delivered one kilogram of cocaine

to COLE.

       3.     On April 7, 2017, at 4:54 p.m., Tommie COLE, called Fernando REYES at (Target

Telephone #9). COLE asked, "You said you only got two of the black ones left?" REYES stated,


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"That one is only one of the black one and one of the other ones." COLE stated, "Oh, never that

other one." REYES stated, "This one is a bit different than the other one. This one is really good.

I got two kinds right now." COLE stated, "You told me last time it was really good." REYES

stated, "This one is good. Super good, bro." COLE stated, "You told me that last time." REYES

asked, "You don't believe me?" COLE asked, "You only got two?" REYES replied, "Yeah, that's

all I got. Two right now." COLE stated, "You could just bring me the two." REYES asked, "You

want these two?" COLE replied, "Yeah." Case agents believe COLE asked REYES if he only

had two kilograms of a "black kind" of cocaine left, possibly referring to kilograms wrapped in

black tape. REYES said he had one of the "black" kind and one of the other kind. COLE said he

did not want to buy the other kind. REYES said this kind of cocaine was different than the other

one COLE did not like and that the current kind was good quality. COLE said REYES had

promised COLE the last cocaine was good quality. COLE asked if REYES only had two kilograms

left and REYES said that was all he had left. COLE told REYES to bring the two kilograms to

COLE and REYES agreed. On April 7, 2017, at 5:33 p.m., REYES, using (Target Telephone #9),

sent a text message to COLE that read, "10 minutes." At 5:34 p.m., COLE sent a text message

back to REYES that read, "Ok." At 5:46 p.m., REYES, using (Target Telephone #9), called

COLE at and stated, "I'm in the back." REYES agreed. At 5:51 p.m., REYES, using (Target

Telephone #9), sent a text message to COLE that read, "Outside." Case agents believe this was a

follow-up text message sent to COLE by REYES confirming that REYES was outside of COLE' s

residence. Case agents believe REYES delivered two kilograms of cocaine to REYES in the rear

of COLE' s residence.     Court-authorized positional information for (Target Telephone #9)

confirmed that REYES was in close proximity to COLE' s residence, at the time of this call.




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       4.     On May 16, 2017, Tommie COLE„ sent a text message to REYES at (Target

Telephone #16) that read, "Did u get me a better number." Case agents believe COLE asked

REYES if had been able to get COLE a better price ("number") for cocaine COLE wanted to

purchase. Since REYES had stopped using (Target Telephone #16), case agents do not know if

REYES received the text message.

       5.     On July 6, 2017, at 2:11 p.m., Fernando REYES, using (Target Telephone #19),

called Tommie COLE. REYES stated, "I got a lot of stuff right now." COLE replied, "Okay,

okay. I got you." REYES asked, "Alright, bro?" COLE replied, "Yeah." REYES stated, "Can

you be ready by tomorrow?" COLE replied, "Today or tomorrow. I'mma give you a call."

REYES agreed. Case agents believe REYES told COLE he had a lot of cocaine for sale and asked

COLE to help him by purchasing cocaine. COLE agreed and said he would call REYES that day

or the next. On July 7, 2017, at 9:35 p.m., COLE, called REYES at (Target Telephone #19).

COLE stated, "I'm firma get this together and see, uh... in about 25 minutes. I'll probably..."

REYES asked, "In your place?" COLE stated, "Yeah." REYES asked, "Did you want a 'truck'?"

COLE replied, "No, I'm finna let you know what I want." REYES stated, "I got only two right

now with me. I got more for tomorrow." COLE stated, "I'mma call you as soon as I get over

there." REYES agreed. Case agents believe COLE told REYES he was getting money together

and would be ready in 25 minutes. REYES asked if he should go to COLE's house and COLE

said he should. REYES asked if COLE wanted a 'truck,' a code word for a certain amount of

cocaine. COLE said he would let REYES know how much cocaine he wanted. REYES said he

only had two kilograms of cocaine at the moment and would have more cocaine later. At 9:54

p.m., COLE, called REYES at (262) 613-1508 (Target Telephone #19). COLE asked, "What time

can you bring them?" REYES asked, "Two?" COLE stated, "Yeah." REYES said, "Alright. See




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you there in half hour." Case agents believe COLE asked REYES when he could deliver the

cocaine. REYES asked if COLE wanted two kilograms and COLE said he did. REYES said he

would be at COLE's residence in a half hour. Court-authorized positional information for ((Target

Telephone #19) showed that (Target Telephone #14) was in close proximity to COLE' s residence,

at 10:49 p.m.,

       6.        On August 22, 2017, at 1:25 p.m., Tommie COLE, called Fernando REYES at

(Target Telephone #23). COLE stated, "You supposed to have brought me a different picture and

you never brought it to me." REYES replied, "The guy, he not really wanna [expletive] it up with

the other one...because they got the same price, bro. They got the same price and the other one

we have to go to the City. To the big city." COLE stated, "Oh, straight up?" REYES replied,

"Yup." COLE stated, "Okay. Okay." Case agents believe COLE told REYES he never brought

him a sample of a different kind of heroin that REYES had for sale. REYES stated his supplier

did not want to supply that heroin, but the price was the same as the heroin from another supplier.

REYES told COLE that if they wanted to purchase the heroin from the other supplier, they would

have to drive to Chicago ("the big city") to pick it up. COLE and REYES agreed to talk further

about the heroin transaction.




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